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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA


       v.                                                        ORDER
                                                                09-CR-331-A
MATTHEW DEYNES,

                      Defendant.


      The defendant, Matthew Deynes, has filed a motion pursuant to 18 U.S.C. §

3142(f)(2) for reconsideration of a Decision and Order of Magistrate Judge Hugh B.

Scott, entered on February 28, 2011, that denied defendant Deynes release from

pretrial detention. (Dkt. No. 190). Defendant is charged in a Fourth Superseding

Indictment with racketeering conspiracy (Count 1), drug conspiracy (Count 62), and

possession of firearms in furtherance of drug trafficking (Count 63). The Court

assumes familiarity with the prior proceedings in this case.

      As an threshold matter, the United States argues defendant Deynes alleges

no changed circumstances sufficient to justify re-opening the detention hearing

under § 3142(f)(2). However, the Court finds that the passage of an additional

three years during which defendant has been in pretrial detention, and the

availability of property to be posted as security valued by defense counsel at oral

argument at approximately $50,000 more than was previously available to secure

defendant’s pretrial release, are circumstances obviously sufficient under 18

U.S.C. § 3142(f) to justify re-opening the detention hearing.
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       Based upon consideration of all of the factors in 18 U.S.C. § 3142(g) and the

evidence proffered by the United States and defendant Deynes, the Court finds

there are strong reasons to conclude that defendant committed the very serious

offenses charged in Counts 1, 62, and 63 in the Fourth Superseding Indictment.

The circumstances and characteristics of those offenses, together with the history

and characteristics of defendant, strongly support the conclusion that defendant

has not met his burden to overcome the presumptions of dangerousness and

serious risk of flight that arise under 18 U.S.C. § 3142(e)(2), and the proffered

evidence supporting those presumptions.1 The Court also specifically finds that no

available condition or combination of conditions will adequately protect the safety of

the community.

       The Court has carefully considered that defendant Deynes’ continuing

pretrial detention since February 9, 2010 raises serious questions under the Due

Process Clause about the propriety of his continuing detention without trial. See

U.S. Const. amend. V. When the duration of a defendant’s pretrial detention

becomes so prolonged that it amounts to punishment that does not serve purposes

of flight prevention or community protection, the pretrial detention violates due

process. Bell v. Wolfish, 441 U.S. 520, 535 (1979); United States v. Salerno, 481

U.S. 739, 747-49 (1987); United States v. Millan, 4 F.3d 1038, 1043 (2d Cir. 1993).


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         The Court is not considering an unsupported allegation by the United States that
defendant was involved during his pretrial detention in secreting an assault weapon. The
United States declined to proffer facts in support of the allegation in a sealed filing.

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Upon such violation, a defendant will be released on conditions, ordered to trial, or

both.

        There is generally a three-part test for determining when an otherwise

legitimate pretrial detention becomes too long to be tolerated under the Due

Process Clause: (1) the length of delay; (2) the extent to which the prosecution is

responsible for delay of the start of the trial; and (3) “the strength of the evidence

upon which the detention was based.” United States v. Orena, 986 F.2d 628, 630

(2d Cir. 1993). The question whether the pretrial detention of defendant Deynes

violates due process turns on whether the above-listed factors establish that the

duration of his detention is excessive in relation to the non-punitive purposes

served by the detention. Bell v. Wolfish, 441 U.S. 520, 538 (1979).

        After lengthy and involved pretrial proceedings in this complex case

concerning an 11-year span of alleged racketeering involving four murders, 12

attempted murders, numerous assaults, and extensive drug trafficking, defendant

Deynes is scheduled for jury selection and trial on March 25, 2014. Because the

defendant’s pretrial detention continues to be necessary to protect the community

from additional crimes and to prevent the defendant from fleeing to avoid

conviction, a sentence to a mandatory-minimum term of 10 years imprisonment, up

to a sentence of life imprisonment, and because his trial will begin March 25, 2014,

it does not, at this time, violate due process.

        During oral argument, the parties acknowledged that defendant Deynes’


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transfer to pretrial detention in a facility approximately 70 miles from the

Courthouse in Mayville, New York, is impeding his trial preparation. Counsel for

the United States undertook to attempt to assist defense counsel to make

arrangements to mitigate the problems attendant the distance defense counsel has

to travel to prepare for trial with defendant. The parties shall appear for a status

conference on Friday, February 21, 2014 at 10:00 a.m. to report on the status of

the parties’ efforts to mitigate problems attendant the distance defense counsel has

to travel to prepare for trial with defendant.

                                    CONCLUSION

      For all of the foregoing reasons, the motion of defendant Matthew Deynes for

reconsideration pursuant to 18 U.S.C. § 3142(f)(2) of his pretrial detention is

denied. The defendant is a danger to the community and a risk of flight for which

no available conditions or combination of conditions of release will adequately

protect the community and assure his appearances in court as required. Although

the continuing 48-month pretrial detention of defendant is very long, it does not

violate due process in the unique circumstances of this case. The parties shall

appear for a status conference February 21, 2014, at 9:00 a.m.

      SO ORDERED.


                                                Richard J. Arcara
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT JUDGE

Dated: February 18, 2014

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